Case 1:20-cr-00074-TSK-MJA Document 574 Filed 06/08/21 Page 1 of 5 PageID #: 1823



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                             Crim. Action No.: 1:20-CR-74-11
                                                         (Judge Kleeh)

  RODERICK BRADLEY,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 550],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On May 17, 2021, the Defendant, Roderick Bradley (“Bradley”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Fifty-Five

  of the Indictment, charging him with Aiding and Abetting the

  Distribution of Cocaine Base, in violation of Title 21, United

  States Code, Sections 841(a)(1) and 841(b)(1)(C) and Title 18,

  United States Code, Section 2. Bradley stated that he understood

  that the magistrate judge is not a United States District Judge,

  and Bradley consented to pleading before the magistrate judge.

  This Court referred Bradley’s plea of guilty to the magistrate

  judge for the purpose of administering the allocution, pursuant to

  Federal Rule of Criminal Procedure 11, making a finding as to

  whether    the   plea   was   knowingly   and   voluntarily   entered,   and

  recommending to this Court whether the plea should be accepted.
Case 1:20-cr-00074-TSK-MJA Document 574 Filed 06/08/21 Page 2 of 5 PageID #: 1824



  USA v. BRADLEY                                                1:20-CR-74-11
         ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 550],
           ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        Based upon Bradley’s statements during the plea hearing, and

  the Government’s proffer establishing that an independent factual

  basis for the plea existed, the magistrate judge found that Bradley

  was competent to enter a plea, that the plea was freely and

  voluntarily given, that Bradley was aware of the nature of the

  charges against him and the consequences of his plea, and that a

  factual basis existed for the tendered plea.         The magistrate judge

  issued a Report and Recommendation Concerning Plea of Guilty in

  Felony Case (“R&R”) [Dkt. No. 550] finding a factual basis for the

  plea and recommending that this Court accept Bradley’s plea of

  guilty to Count Fifty-Five of the Indictment.

        The magistrate judge released Defendant on the terms of the

  Order Setting Conditions of Release.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R.        He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R.         Neither Bradley nor the

  Government filed objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R

  [Dkt. No. 550], provisionally ACCEPTS Bradley’s guilty plea, and

                                        2
Case 1:20-cr-00074-TSK-MJA Document 574 Filed 06/08/21 Page 3 of 5 PageID #: 1825



  USA v. BRADLEY                                                    1:20-CR-74-11
         ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 550],
           ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  ADJUDGES him GUILTY of the crime charged in Count Fifty-Five of

  the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until

  it has received and reviewed the presentence investigation report

  prepared in this matter.

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

  following:

        1.    The   Probation   Officer     shall   undertake   a   presentence

  investigation of Bradley, and prepare a presentence investigation

  report for the Court;

        2.    The Government and Bradley shall each provide their

  narrative descriptions of the offense to the Probation Officer by

  June 21, 2021;

        3.    The presentence investigation report shall be disclosed

  to Bradley, his counsel, and the Government on or before August

  20, 2021; however, the Probation Officer shall not disclose any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

        4.    Counsel may file written objections to the presentence

  investigation report on or before September 3, 2021;

                                        3
Case 1:20-cr-00074-TSK-MJA Document 574 Filed 06/08/21 Page 4 of 5 PageID #: 1826



  USA v. BRADLEY                                                  1:20-CR-74-11
         ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 550],
           ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        5.     The Office of Probation shall submit the presentence

  investigation report with addendum to the Court on or before

  September 17, 2021; and

        6.     Counsel may file any written sentencing memorandum or

  statements     and     motions   for   departure   from   the     Sentencing

  Guidelines, including the factual basis for the same, on or before

  October 1, 2021.

        The Court further ORDERS that prior to sentencing, counsel

  for Defendant review with him the revised Standard Probation and

  Supervised Release Conditions adopted by this Court on November

  29, 2016, pursuant to the standing order entered by Chief Judge

  Groh, In Re: Revised Standard Probation and Supervised Release

  Conditions, 3:16-MC-56.

        The Court will conduct the Sentencing Hearing for Bradley on

  November 5, 2021, at 12:00 p.m., at the Clarksburg, West Virginia

  point of holding court.          If counsel anticipates having multiple

  witnesses    or   an   otherwise   lengthy   sentencing   hearing,    please

  notify the Judge’s chamber staff so that an adequate amount of

  time can be scheduled.

        It is so ORDERED.




                                         4
Case 1:20-cr-00074-TSK-MJA Document 574 Filed 06/08/21 Page 5 of 5 PageID #: 1827



  USA v. BRADLEY                                                1:20-CR-74-11
         ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 550],
           ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

        DATED: June 8, 2021


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




                                        5
